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                                                               U.S. Department of Justice

                                                               United States Attorney
                                                               District of New Jersey
                                                               Civil Division

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Assistant United States Attorney


                                                               June 14, 2023

Via Electronic Filing
Hon. Michael A. Shipp, U.S.D.J.
United States District Court
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608

          Re:       Letter Requesting Seven-Day Extension of Time to File a
                    Consolidated Reply
                    B.Y.C.C., et al. v. United States, No. 22-cv-06586-MAS
                    J.A.L.C., et al. v. United States, No. 22-cv-06587-MAS
                    R.J.P., et al. v. United States, No. 22-cv-06588-MAS

Dear Judge Shipp:

       This Office represents Defendant the United States of America in the above-
referenced matters. We write with the consent of Plaintiffs’ counsel to respectfully
request an additional seven days for the United States to file a consolidated reply
brief in further support of its motions to dismiss. The current date by which the
United States must reply is June 16, 2023. If the Court grants the United States’
extension request, its reply brief will be due on June 23, 2023. Good cause exists to
grant a short extension because this Office is required to coordinate with other
Department of Justice components in responding to the arguments made in Plaintiffs’
consolidated opposition brief, and additional time is needed to obtain the requisite
approvals.

     If this proposal is acceptable to the Court, I respectfully request that Your
Honor “so order” this letter and have the clerk file it on the docket. Thank you very
much for your consideration of this request.
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                                         Respectfully submitted,

                                         PHILIP R. SELLINGER
                                         United States Attorney

                                   By:   /s/ Samantha R. D’Aversa
                                         SAMANTHA R. D’AVERSA
                                         Assistant United States Attorney
                                         Attorneys for the United States

cc:   All counsel of record
      AUSA John F. Basiak Jr.
      AUSA Angela E. Juneau
                                          So Ordered this 16th day of June, 2023.

                                          _______________________________
                                          Honorable Michael A. Shipp,
                                          U.S.D.J.




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